                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

RICKY MATLOCK, et al.,                         )
                                               )
     Plaintiffs,                               )
                                               )
v.                                             )       NO. 3:18-cv-00047
                                               )
ROUNDPOINT MORTGAGE                            )       JUDGE CAMPBELL
SERVICING CORPORATION, et al.,                 )       MAGISTRATE JUDGE NEWBERN
                                               )
      Defendants.                              )

                                          ORDER

         Pending before the Court is the Motion for Summary Judgement filed by Defendant

LoanCare, LLC (“LoanCare”) (Doc. No. 76), and the Motion for Summary Judgment filed by

Defendants RoundPoint Mortgage Servicing Corporation (“RoundPoint”) and Embrace Home

Loans, Inc. (“Embrace”) (Doc. No. 79). Plaintiffs filed Responses in Opposition (Doc. Nos. 88,

91) and Defendants filed Replies. (Doc. Nos. 98, 102). For the reasons set forth in the

accompanying Memorandum, the Motion for Summary Judgement filed by Defendants

RoundPoint and Embrace is DENIED as to Defendant RoundPoint and GRANTED as to

Defendant Embrace, and Defendant LoanCare’s Motion for Summary Judgment is GRANTED.

         It is so ORDERED.

                                                   ____________________________________
                                                   WILLIAM L. CAMPBELL, JR.
                                                   UNITED STATES DISTRICT JUDGE




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